
940 N.E.2d 1149 (2011)
PEOPLE State of Illinois, respondent,
v.
Aaron MAGALLANES, petitioner.
No. 109824.
Supreme Court of Illinois.
January 26, 2011.
Petition for leave to appeal denied.
In the exercise of this Court's supervisory authority, the Appellate Court, First District, is directed to vacate its judgment in People v. Magallanes, 397 Ill.App.3d 72, 336 Ill.Dec. 774, 921 N.E.2d 388 (2009). The appellate court is directed to reconsider its judgment in light of People v. *1150 Thompson, 238 Ill.2d 598, 345 Ill.Dec. 560, 939 N.E.2d 403 (2010), to determine if a different result is warranted.
